                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 1 of 9

                      1   BOBBIE R. BAILEY, SBN 159663
                          bbailey@leaderberkon.com
                      2   EMILY K. DOTY, State Bar No. 297222
                          edoty@leaderberkon.com
                      3   OLGA G. PENA, State Bar No. 207927
                          opena@leaderberkon.com
                      4   LEADER & BERKON LLP
                          660 South Figueroa Street, Suite 1150
                      5   Los Angeles, CA 90017
                          Telephone: (213) 234-1750
                      6   Facsimile: (213) 234-1747
                      7   Attorneys for Plaintiff
                          BASF CORPORATION
                      8
                      9
                                              UNITED STATES DISTRICT COURT
                     10
                                             EASTERN DISTRICT OF CALIFORNIA
                     11
                     12
                          BASF CORPORATION,                         Case No.
                     13
                     14                     Plaintiff,
                                                                    COMPLAINT;
                     15               vs.
                     16
                          CESARE’S COLLISION REPAIR &               DEMAND FOR JURY TRIAL
                     17   TOWING, INC. a/k/a and/or d/b/a
                     18   CESARES COLLISION REPAIR
                          CENTER & TOWING,
                     19
                     20                     Defendant.
                     21
                     22
                                COMES NOW Plaintiff BASF CORPORATION (“BASF”), by and through
                     23
                     24   undersigned counsel, and hereby files its Complaint against the above-captioned
                     25
                          defendant Cesare’s Collision Repair & Towing, Inc. a/k/a and/or d/b/a Cesares
                     26
                          Collision Repair Center & Towing (“Defendant”), showing the Court as follows:
                     27
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES
                          LB227317
                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 2 of 9


                      1
                                                             THE PARTIES

                      2                1.     BASF is a citizen of the States of Delaware and New Jersey.
                      3
                          BASF is incorporated under the laws of the State of Delaware and has its principal
                      4
                      5   place of business in the State of New Jersey.

                      6                2.     On information and belief, Defendant is a corporation organized
                      7
                          and existing under the laws of the State of California, with its principal place of
                      8
                      9   business at 920 E. Center Ave., Visalia, CA 93292 and with Gabriel R Jacquez as

                     10   its agent for process of service at 920 E. Center Ave., Visalia, CA 93292.
                     11
                                       3.     BASF is in the business of selling aftermarket paints, refinishes,
                     12
                     13   coating, primers, thinners and reducers as well as other related products and

                     14   materials for the reconditioning, refinishing and repainting of automobiles, trucks,
                     15
                          and other vehicles (collectively, “Refinish Products”). BASF resells the Refinish
                     16
                     17   Products to distributors that in turn sell the Refinish Products to automotive body
                     18   shops that are in the business of reconditioning, refinishing, and repainting of
                     19
                          automobiles, trucks, and other vehicles.
                     20
                     21                4.     Defendant is a body shop engaged in the business of
                     22   reconditioning, refinishing and repainting automobiles, trucks, and other vehicles.
                     23
                                                    JURISDICTION AND VENUE
                     24
                     25                5.     The jurisdiction of this Court over the subject matter of this
                     26   action is predicated on 28 U.S.C. § 1332. The amount in controversy exceeds
                     27
                          $75,000.00, exclusive of interest and costs, and complete diversity exists between
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES           LB227317                                   -2-
                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 3 of 9


                      1
                          the parties, as BASF is a citizen of the States of Delaware and New Jersey and

                      2   Defendant is a citizen of the State of California. Defendant is subject to the
                      3
                          jurisdiction of this Court because, among other things, a substantial part of the
                      4
                      5   events giving rise to this claim occurred in California.

                      6                 6.    Venue is proper in this Court, pursuant to 28 U.S.C. § 1391, in
                      7
                          that a substantial part of the events or omissions giving rise to the claims asserted
                      8
                      9   herein occurred in the District and Defendant is subject to the personal jurisdiction

                     10   in this District.
                     11
                                        7.    Michigan substantive law governs BASF’s claims per Paragraph
                     12
                     13   6 of the Requirements Agreement.

                     14                              GENERAL ALLEGATIONS
                     15
                          The Terms of the Requirements Agreement
                     16
                     17                 8.    On or about February 4, 2014, BASF and Defendant entered
                     18   into a Requirements Agreement, a true and correct copy of which is attached hereto
                     19
                          as Exhibit A and incorporated herein by reference.
                     20
                     21                 9.    Pursuant to Paragraphs 1 and 2 of the Requirements Agreement,
                     22   Defendant was required to fulfill one hundred percent of its requirements for
                     23
                          Refinish Products up to a minimum purchase requirement of $743,000.00 of
                     24
                     25   Refinish Products (“Minimum Purchases”) in the aggregate at suggested refinish
                     26   pricing.
                     27
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES           LB227317                                 -3-
                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 4 of 9


                      1
                                       10.   Pursuant to Paragraph 3 of the Requirements Agreement, BASF

                      2   paid Defendant $80,000.00 (“Contract Fulfillment Consideration”) in consideration
                      3
                          of fulfilling all of its obligations under the Requirements Agreement.
                      4
                      5                11.   Also pursuant to Paragraph 3 of the Requirements Agreement, if

                      6   the Requirements Agreement was terminated for any reason prior to Defendant
                      7
                          purchasing a minimum of $743,000.00 of Refinish Products, Defendant was
                      8
                      9   required to refund BASF 100% of the Contract Fulfillment Consideration.

                     10   Defendant’s Breach of the Requirements Agreement
                     11
                                       12.   On or about June 2014, Defendant, without any justification,
                     12
                     13   breached and ultimately terminated the Requirements Agreement by, among other

                     14   things, entering into an agreement with one of BASF’s competitors and failing to
                     15
                          purchase one hundred percent of its requirements for Refinish Products from
                     16
                     17   BASF.
                     18                13.   Since at least June 2014, Defendant has failed and refused to
                     19
                          purchase any further Refinish Products in violation of Paragraphs 1 and 2 of the
                     20
                     21   Requirements Agreement.
                     22                14.   Defendant’s purchases of Refinish Products pursuant to the
                     23
                          Requirements Agreement total $0. A purchase balance of $743,000.00 remains due
                     24
                     25   and owing under the terms of the Requirements Agreement.
                     26
                     27
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES           LB227317                                -4-
                                              COMPLAINT AND DEMAND FOR JURY TRIAL
                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 5 of 9


                      1
                                        15.    In violation of Paragraph 3 of the Requirements Agreement,

                      2   Defendant has failed and refused to refund BASF the sum of $80,000.00, which
                      3
                          represents 100% of the $80,000.00 in unearned Contract Fulfillment Consideration.
                      4
                      5                 16.    BASF has fulfilled its obligations and remains ready, willing,

                      6   and able to perform all obligations, conditions, and covenants required under the
                      7
                          Requirements Agreement.
                      8
                      9                 17.    By letter dated February 17, 2017, a true and accurate copy of

                     10   which is attached hereto as Exhibit B, BASF gave Defendant notice that Defendant
                     11
                          was in default of its contractual obligations and demanded refund of the Contract
                     12
                     13   Fulfillment Consideration of $80,000.00. In addition, BASF notified Defendant

                     14   that it would seek additional damages that it is entitled to if the matter progressed to
                     15
                          litigation.
                     16
                     17                 18.    Despite the foregoing demand, Defendant has failed to satisfy its
                     18   obligations under the terms of the Requirements Agreement and to this day has
                     19
                          failed to satisfy its obligations.
                     20
                     21                                         COUNT I
                     22                          Breach of Contract Against Defendant
                     23
                                        19.    BASF incorporates by reference the allegations contained in the
                     24
                     25   above paragraphs.
                     26                 20.    Pursuant to Paragraphs 1 and 2 of the Requirements Agreement,
                     27
                          Defendant was required to purchase from BASF one hundred percent of its
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES           LB227317                                 -5-
                                                COMPLAINT AND DEMAND FOR JURY TRIAL
                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 6 of 9


                      1
                          requirements for Refinish Products up to a minimum purchase requirement of

                      2   $743,000.00 of Refinish Products in the aggregate at suggested refinish pricing
                      3
                          over the Term.
                      4
                      5                21.    Despite its obligations under the Requirements Agreement and

                      6   in breach thereof, Defendant has failed to meet its minimum purchase requirements
                      7
                          under the Requirements Agreement and failed to pay BASF the amounts due and
                      8
                      9   owing thereunder.

                     10                22.    The amount of outstanding minimum purchase requirements for
                     11
                          Refinish Products by Defendant pursuant to the Requirements Agreement was
                     12
                     13   $743,000.00 as of the date of the filing of this Complaint.

                     14                23.    Further, Defendant has breached the Requirements Agreement
                     15
                          by entering into an agreement for the purchase of Refinish Products with one of
                     16
                     17   BASF’s competitors.
                     18                24.    As a result of the unjustified breach of the Requirements
                     19
                          Agreement by Defendant without legal excuse and, pursuant to Paragraph 3 of the
                     20
                     21   Requirements Agreement, Defendant is obligated to repay to BASF $80,000.00.
                     22                25.    As of the date of the filing of this Complaint, Defendant has
                     23
                          damaged BASF in the following amounts under the Requirements Agreement:
                     24
                     25                       a. $80,000.00 for refund of the Contract Fulfillment
                     26                          Consideration; and
                     27
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES           LB227317                                 -6-
                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 7 of 9


                      1
                                              b. $743,000.00 for the remaining balance of Defendant’s

                      2                          minimum purchase requirement.
                      3
                                       26.    BASF has performed and fulfilled all obligations and conditions
                      4
                      5   required of it under the terms of the Requirements Agreement. Nevertheless,

                      6   Defendant’s breaches of its obligations under the terms of the Requirements
                      7
                          Agreement have resulted in damage to BASF in the amount of $823,000.00.
                      8
                      9                                    COUNTS II & III

                     10              Unjust Enrichment and Quantum Meruit Against Defendant
                     11
                                       27.    BASF incorporates by reference the allegations contained in the
                     12
                     13   above paragraphs.

                     14                28.    Defendant has received the benefit of the Contract Fulfillment
                     15
                          Consideration provided by BASF to or on behalf of Defendant.
                     16
                     17                29.    The fair market value of the use of the Contract Fulfillment
                     18   Consideration provided by BASF is at least $80,000.00, exclusive of costs,
                     19
                          expenses, and attorneys’ fees.
                     20
                     21                30.    Defendant has not provided repayment of the Contract
                     22   Fulfillment Consideration to BASF.
                     23
                                       31.    Defendant has retained the benefit of the Contract Fulfillment
                     24
                     25   Consideration provided by BASF, which has resulted in an inequity to BASF in the
                     26   amount of $80,000.00.
                     27
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES           LB227317                                -7-
                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 8 of 9


                      1
                                       32.    BASF is entitled to recover from Defendant the Contract

                      2   Fulfillment Consideration in the amount of not less than $80,000.00 and for other
                      3
                          benefits provided at BASF’s expense for which no compensation has been
                      4
                      5   provided.

                      6                33.    Defendant is liable to BASF in the amount of not less than
                      7
                          $80,000.00 or such other amount as may be established by the evidence.
                      8
                      9                                       COUNT IV

                     10                         Declaratory Relief Against Defendant
                     11
                                       34.    BASF incorporates by reference the allegations contained in the
                     12
                     13   above paragraphs.

                     14                35.    BASF requests a judicial declaration of BASF’s and
                     15
                          Defendant’s respective rights under the Requirements Agreement.
                     16
                     17                36.    An actual dispute and justiciable controversy presently exists
                     18   between BASF and Defendant concerning their rights and obligations under the
                     19
                          Requirements Agreement. Defendant contends that it has not breached the
                     20
                     21   Requirements Agreement. BASF disagrees and contends that the Requirements
                     22   Agreement is in full force and effect, and that Defendant is in breach of the
                     23
                          Requirements Agreement.
                     24
                     25                37.    A judicial declaration is necessary to establish BASF’s and
                     26   Defendant’s rights and duties under the Requirements Agreement.
                     27
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES           LB227317                                -8-
                                               COMPLAINT AND DEMAND FOR JURY TRIAL
                          Case 1:18-cv-00519-DAD-BAM Document 1 Filed 04/16/18 Page 9 of 9


                      1
                                                   DEMAND FOR JURY TRIAL

                      2         BASF demands a trial by jury on all counts and as to all issues.
                      3
                                                  BASF’S PRAYER FOR RELIEF
                      4
                      5         On the bases of the foregoing, BASF respectfully prays that this Court enter

                      6   Judgment in its favor and against Defendant as follows:
                      7
                                      a.     Awarding BASF monetary damages in an amount to be
                      8
                      9                      determined at trial, but not less than $823,000.00 together with

                     10                      prejudgment interest;
                     11
                                      b.     Awarding BASF declaratory judgment in that the Requirements
                     12
                     13                      Agreement is in full force and effect;

                     14               c.     Awarding BASF all costs and fees of this action as permitted by
                     15
                                             law; and
                     16
                     17               d.     Awarding BASF such other and further relief as this Court
                     18                      deems just and proper.
                     19

                     20   Dated:      April 16, 2018                    LEADER & BERKON

                     21
                     22                                              By: /s/ Bobbie R. Bailey
                                                                       Bobbie R. Bailey
                     23                                                Emily K. Doty
                                                                       Olga G. Pena
                     24
                                                                        Attorneys for Plaintiff
                     25                                                 BASF Corporation
                     26                                                 Email: bbailey@leaderberkon.com
                                                                               edoty@leaderberkon.com
                     27                                                        opena@leaderberkon.com
                     28
LEADER & BERKON LLP
  ATTORNEYS AT LAW
    LOS ANGELES           LB227317                                -9-
                                              COMPLAINT AND DEMAND FOR JURY TRIAL
